                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                            )
In re:                                                      )    Chapter 7
                                                            )
POLISHED.COM INC., et al.,1                                 )    Case No. 24-10353 (TMH)
                                                            )
                                    Debtors.                )    (Jointly Administered)
                                                            )

                         ORDER SCHEDULING OMNIBUS HEARING DATE

                   IT IS HEREBY ORDERED that the following omnibus hearing date has been

scheduled in the above-captioned matter:

                                  DATE                              TIME
                                                              (Omnibus Hearing)
                                                      2:00 p.m.(Prevailing Eastern Time)
                           January 7, 2025
                                                                Courtroom No. TBD




         Dated: December 11th, 2024                THOMAS M. HORAN
         Wilmington, Delaware                      UNITED STATES BANKRUPTCY JUDGE




1
    The Debtors in these chapter 7 cases, along with the last four digits of each Debtor’s federal tax identification
    number are: Polished.com Inc. (3938); 1 Stop Electronics Center, Inc. (9485); AC Gallery Inc. (3629);
    Appliances Connection Inc. (8366); Gold Coast Appliances, Inc. (1575); Joe’s Appliances LLC (8354); Superior
    Deals Inc. (0096); and YF Logistics LLC (8373).



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